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                    IN THE UNITED STATES DISTRICT COURT FOR
                           NORTHERN DISTRICT OF FLORIDA
                                      (Gainesville Division)


UNITED STATES OF AMERICA )
                         )
          v.             )                                   Docket No. 1:05CR34-MMP
                         )
MICHAEL ALEXIS BIROCCO )

                    ORDER MODIFYING CONDITIONS OF RELEASE

       The defendant appeared before the Court on February 23, 2006, for sentencing. The

defendant was sentenced to a term of eighteen (18) months imprisonment to be followed by four (4)

years supervised release and is scheduled to self surrender on March 24, 2006. Until such time, the

defendant is continued on bond supervision with the following additional condition of release:

       The defendant shall not frequent places where alcoholic or intoxicating
       beverages are sold, dispensed, or used with the exception of restaurants or
       grocery stores where he is a customer.


All other conditions of bond shall remain in full force and effect.

       DONE AND ORDERED this             23rd day of February, 2006.



                                       s/Maurice M. Paul

                                      MAURICE M. PAUL, SENIOR
                                      UNITED STATES DISTRICT JUDGE

                                      February 23, 2006

                                      DATE
